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               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,              )
                                       )    Case No. 3:18-cr-00319-6-JO
      Plaintiff,                       )
                                       )    ORDER TO REQUIRE
      vs.                              )
                                       )    DETAINING AUTHORITIES TO
                                       )    MAINTAIN CONFIDENTIALITY
CHAD LEROY ERICKSON,                   )
                                       )    OF MR. ERICKSON’S MEETINGS
      Defendant.                       )    WITH PROFESSIONAL
                                       )    VISITORS
                                       )


      This Court has considered Defendant Erickson’s Motion to Require

Detaining Authorities to Maintain Confidentiality of Mr. Erickson’s Meetings with

Professional Visitors, filed by his counsel, Thomas K. Coan and Richard L. Wolf,

to which Multnomah County Counsel Carlos Calandriello, (on behalf of the

Multnomah County Sheriff’s Office) does not object and to which AUSA Steve

Mygrant (on behalf of the United States of America) takes no position.

      Upon finding good cause, the Motion is GRANTED.

      IT IS HEREBY ORDERED that:



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CONFIDENTIALITY OF MR. ERICKSON’S MEETINGS WITH PROFESSIONAL
VISITORS
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      Any information about professional visitors with Chad Leroy Erickson while

he is in the custody of the Multnomah County Sheriff’s Office (and any future

detaining authority) and all related written or recorded records, including the

“Visitor’s Log,” shall remain confidential and shall NOT be disclosed or

disseminated to any third party, for any purpose, absent an Order of this Court.

      IT IS FURTHER ORDERED that:

      A copy of this Order shall be affixed to Chad Leroy Erickson’s “Visitor’s

Log” and/or other visitor records. For purposes of this Order “professional visitor,”

is to be defined as “any person cleared by the detaining authority for contact visits

with Mr. Erickson because they are working on behalf of his defense team and fall

under the attorney-client privilege. Family members and others who are not eligible

for contact/professional visits are not to be deemed “professional visitors.”

      SO ORDERED this ______ day of August 2019.



                                       ______________________________
                                       Honorable Robert E. Jones
                                       United States Senior District Judge

Proposed by:

 s/ Richard L. Wolf
Richard L. Wolf, OSB #873719
Attorney for Defendant Erickson

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VISITORS
